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 8                           UNITED STATES DISTRICT COURT                  ~~
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 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                            September 2018 Grand Jury

11   UNITED STATES OF AMERICA,             E~    CF~N~.i9 ~ O O ~              ~         `~`~~

12             Plaintiff,                    IN D I C T M E N T

13             v.                             [18 U.S.C. ~ 1349: Conspiracy; 18
                                             U.S.C. § 1341: Mail Fraud; 18
14   S PARKLE SHORALE NELSON,                U.S.C. ~ 1343: Wire Fraud; 18
     SITYKEENA MONIQUE JOHNSON,              U.S.C. ~ 1028A(a) (1)   Aggravated
15      aka "Shy," and                       Identity Theft; 20 U.S.C.
     JERRIKA ELDRENA LASHAY JOHNSON,         ~ 1097(a)    Financial Aid Fraud; 18
16      aka ~~Muffin,"                       U.S.C. ~  2:  Aiding and Abetting
        aka ~~Big Sis,"                      and  Causing  an Act to be Done]
17      aka ~~Jerrika Carter,"

18             Defendants.

19

20        The Grand Jury charges:

21                                     COUNT ONE

22                                [ 18 U.S.C. ~ 1349]

23                                  [ ALL DEFENDANTS]

24   A.   INTRODUCTORY ALLEGATIONS

25        At times relevant to this Indictment:

26        1.   The Department of Education ("the Department")            was an

27   agency of the United States government.        One of the primary

28   r esponsibilities of the Department was the oversight and
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 1   administration of Title IV Federal Student Assistance (~~FSA")

 2   programs as authorized by the Higher Education Act of 1965.            One of

 3   the functions of the Department was to administer FSA programs,

 4   including the Direct Loan Program and the Pell Grant Program.

 5        2.    The Direct Loan Program provided low-interest loans to

 6   eligible students to help cover the cost of higher education at

 7   participating schools.     Students eligible for Direct Loans borrowed

 8   directly from the Department rather than a private lender.

 9        3.    The Pell Grant Program provided the Department grant funds

10   to assist eligible needy students in meeting the costs of post-

11   secondary education.

12        4.    The Department promulgated regulations that specified the

13   eligibility requirements and application procedures for students.             In

14   order to participate in FSA programs, a beneficiary had to be

15   enrolled at a Department-approved institution.         Each potential

16   student/applicant had to possess a high school diploma or its

17   equivalent, be a citizen or eligible non-citizen of the United

18   States, and not be in default on any prior student loans or owe a

19   refund on a federal student grant.         FSA funds could only be used to

20   pay the cost of attending an institution of higher education.            An

21   applicant was not eligible to receive a Pell Grant or a Direct Loan

22   if the applicant was incarcerated in a federal or state penal

23   institution.

24        5.   Applicants for FSA funds were required to complete an

25   application for federal student aid called the "Free Application for

26   Federal Student Aid" (~~FAFSA").

27        6.   The FAFSA could be completed on a Department website and

28   submitted electronically via the Internet.        The FAFSA required the

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 1   applicant to list certain identifying information, including the

 2   applicant's name, date of birth, and social security number.            The

 3   FAFSA required the applicant to list the applicant's education level,

 4   income, and family status.      The FAFSA also required the

 5   identification and signature of the preparer of the form and the

 6   preparer's social security number if it was prepared by someone other

 7   than the student applicant.      The FAFSA further required the student

 8   or preparer to certify that: (a) the information was true and

 9   complete; and (b) any FSA funds received would be used only to pay

10   the cost of attending an institution of higher education (i.e.,

11   tuition, fees, supplies, and housing).

12          7.     To electronically sign a FAFSA that was completed on the

13   Department website, each student applicant was assigned a unique

14   personal identification number ("PIN") by the Department via email or

15   a United States mail address provided by the student.          The PIN could

16   be used to go online to the Department's FAFSA website and access a

17   FAFSA, correct a FAFSA, review financial aid history, access Direct

18   Loan information and tools, and electronically sign Master Promissory

19   Notes.      By signing the FAFSA with a PIN, the applicant assumed

20   responsibility for the accuracy of the information reported on the

21   FAFSA and certified that he or she was the person identified by the

22   PIN.

23          8.    The completed FAFSAs were received and processed by the

24   Department's Central Processing System (~~CPS")         The CPS calculated

25   the student's Expected Family Contribution, which was the amount the

26   student applicant, or the student applicant's family, was expected to

27   contribute toward the student's college costs.         The CPS server that

28   received FAFSA submissions was located in Plano, Texas.

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 1        9.     The Expected Family Contribution and other information

 2   calculated by CPS were included in a report sent to the student,

 3   which report was called a Student Aid Report.         The Expected Family

 4   Contribution and other information calculated by CPS also were

 5   included in a report sent to each school listed by the student on the

 6   FAFSA, which report was called an Institutional Student Information

 7   Record.    The CPS electronically submitted the report to each school

 8   listed by the student on the FAFSA.

 9        10.   To receive financial aid from the Department in the form of

10   a student loan, a qualified applicant was required to complete a

11   Master Promissory Note, which included a promise to pay to the

12   Department all loan amounts disbursed under the terms of the Master

13   Promissory Note.

14        11.   For an eligible student/applicant to receive FSA funds, the

15   student/applicant had to enroll in a postsecondary school that was

16   authorized by the Department to award FSA funds.

17        12.   Fullerton College was a community college located in

18   Fullerton, California.     Fullerton College participated in FSA

19   programs and was authorized to award FSA funds to eligible students.

20   Fullerton College offered courses at its campus in Fullerton and via

21   online education programs on the Internet.        Students applied for

22   admission to Fullerton College by submitting an application online.

23   Students who enrolled at Fullerton College could obtain financial

24   aid, including Direct Loans and Pell Grants, from the federal

25   government through the FAFSA application process.

26        13.   When a Fullerton College student received Pell Grants and

27   Direct Loans, the disbursements were made directly to Fullerton

28   College.   To receive a disbursement of the financial aid funds from

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 1   the Department, Fullerton College submitted a request to the

 2   Department, which transmitted a request to the United States

 3   Department of Treasury in Philadelphia, Pennsylvania, which then

 4   transmitted the request to the Federal Reserve Bank in Minneapolis,

 5   Minnesota.     The Federal Reserve Bank then caused the funds to be

 6   wire-transferred to Fullerton College's bank account with Bank of

 7   America in Fullerton, California.

 8        14.     Upon receiving FSA funds, Fullerton College sent to the

 9   student applicant a portion of the aid that was not designated to pay

10   tuition and fees; this portion was known as a credit balance or

11   refund.    After Fullerton College determined a student was going to

12   receive FSA funds, it notified Higher One, a debit card company.

13   Higher One mailed inactive debit cards to students using the United

14   States Postal Service.     Once students received their welcome packet

15   in the mail, students had to choose to have their FSA credit balance

16   deposited onto the debit card or have the money deposited into a bank

17   account.   A paper check was mailed to a student if the student did

18   not choose a deposit preference within 30 days.         Higher One debit

19   cards could be activated on the Internet and account information

20   could be accessed on the Internet.

21   B.   OBJECTS OF THE CONSPIRACY

22        15.   Beginning on or about a date unknown, but no later than in

23   or about February 2013, and continuing to in or about December 2014,

24   in San Bernardino County, within the Central District of California,

25   and elsewhere, defendants SPARKLE SHORALE NELSON (~~NELSON"), SITYKEENA

26   MONIQUE JOHNSON, also known as (~~aka") ~~Shy" (~~JOHNSON"), and JERRIKA

27   ELDRENA LASHAY JOHNSON, aka ~~Muffin," aka ~~Big Sis," aka ~~Jerrika

28   Carter" ("CARTER"), and others known and unknown to the Grand Jury,

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 1   knowingly and with intent to defraud, conspired to commit offenses

 2   against the United States, namely, mail fraud, in violation of Title

 3   18, United States Code, Section 1341, and wire fraud, in violation of

 4   Title 18, United States Code, Section 1343.

 5   C.   MANNER AND MEANS OF THE CONSPIRACY

 6        16.    The objects of the conspiracy were carried out, and to be

 7   carried out, in substance, as follows:

 8               a.   Defendants NELSON, JOHNSON, and CARTER, and other co-

 9   conspirators known and unknown to the Grand Jury, would obtain

10   personal identifying information, including names and social security

11   numbers of other individuals, who are described in this Indictment as

12   "straw students."

13               b.   Defendants NELSON, JOHNSON, and CARTER, and other co-

14   conspirators known and unknown to the Grand Jury, would complete the

15   application and enrollment process with Fullerton College among other

16   colleges.

17               c.   Defendants NELSON, JOHNSON, and CARTER, and other co-

18   conspirators known and unknown to the Grand Jury, would use the

19   personal identifying information of the straw students to file FAFSAs

20   on the Internet for financial aid, but would not comply with the

21   preparer-related requirement to sign the application and include the

22   preparer's social security number.

23               d.   Defendants NELSON, JOHNSON, and CARTER, and other co-

24   conspirators known and unknown to the Grand Jury, would complete

25   Master Promissory Notes on the Internet for the straw students.

26               e.   Defendants NELSON, JOHNSON, and CARTER, and other co-

27   conspirators known and unknown to the Grand Jury, would cause

28   Fullerton College, among other colleges, to disburse money to the

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 1   straw students from the Department by depositing the financial aid

 2   onto Higher One debit cards, which were mailed to addresses belonging

 3   to defendants NELSON, JOHNSON, and CARTER, and other co-conspirators

 4   known and unknown to the Grand Jury.

 5              f.     Defendants NELSON, JOHNSON, and CARTER, and other co-

 6   conspirators known and unknown to the Grand Jury, would activate the

 7   Higher One debit cards in the names of the straw students.

 8              g.     Defendants NELSON, JOHNSON, and CARTER, and other co-

 9   conspirators known and unknown to the Grand Jury, would cause the FSA

10   funds to be transferred from the Higher One accounts in the names of

11   certain straw students to other Higher One accounts, which defendants

12   NELSON, JOHNSON, and CARTER, and other co-conspirators known and

13   unknown to the Grand Jury, controlled.

14              h.     Defendants NELSON, JOHNSON, and CARTER, and other co-

15   conspirators known and unknown to the Grand Jury, would not use the

16   funds disbursed to the accounts of straw students for permitted

17   educational costs.    Instead, defendants NELSON, JOHNSON, and CARTER,

18   and other co-conspirators known and unknown to the Grand Jury, would

19   use the money for their personal expenses.

20   D.   OVERT ACTS

21        17.   In furtherance of the conspiracy, and to accomplish its

22   objects, on or about the following dates, defendants NELSON, JOHNSON,

23   and CARTER, and other co-conspirators known and unknown to the Grand

24   Jury, committed, and willfully caused others to commit, various overt

25   acts within the Central District of California, and elsewhere,

26   including, but not limited to, the following:

27        Overt Act No. 1:       On or about August 9, 2014, defendant

28   NELSON, and other co-conspirators known and unknown to the Grand

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 1   Jury, submitted a FAFSA online to the Department using personal

 2   identifying information belonging to straw student D.P., who was

 3   incarcerated at the time in a state penal institution.

 4        Overt Act No. 2:       On or about August 19, 2014, defendant

 5   JOHNSON, and other co-conspirators known and unknown to the Grand

 6   Jury, submitted a FAFSA online to the Department using personal

 7   identifying information belonging to straw student C.M.

 8        Overt Act No. 3:       On or about August 22, 2014, defendant

 9   CARTER, and other co-conspirators known and unknown to the Grand

10   Jury, submitted a FAFSA online to the Department using personal

11   identifying information belonging to straw student D.B., who was

12   incarcerated at the time in a state penal institution.

13        Overt Act No. 4:       On or about August 23, 2014, defendant

14   JOHNSON, and other co-conspirators known and unknown to the Grand

15   Jury, submitted a FAFSA online to the Department using personal

16   identifying information belonging to straw student T.J.

17        Overt Act No. 5:       On or about August 23, 2014, defendant

18   CARTER sent a text message to defendant NELSON stating, ~~The people I

19   sign up I pick some classes so they got like 6/9."

20        Overt Act No. 6:       On or about August 30, 2014, defendant

21   CARTER, and other co-conspirators known and unknown to the Grand

22   Jury, logged on to the Higher One website using personal identifying

23   information belonging to straw student D.P., and activated a Higher

24   One debit card in D.P.'s name.

25        Overt Act No. 7:       On or about September 3, 2014, defendant

26   JOHNSON, and other co-conspirators known and unknown to the Grand

27   Jury, logged on to the Higher One website using personal identifying

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 1     information belonging to straw student C.M., and activated a Higher

 2     One debit card in C.M.'s name.

 3            Overt Act No. 8:     On or about September 4, 2014, defendant

 4     CARTER, and other co-conspirators known and unknown to the Grand

 5     Jury, logged on to the Higher One website using personal identifying

 6     information belonging to straw student D.B., and activated a Higher

 7     One debit card in D.B.'s name.

 8            Overt Act No. 9:     On or about October 13, 2014, defendant

 9     JOHNSON sent a text message containing straw student T.J.'s social

10     security number to defendant NELSON.

11            Overt Act No. 10:    On or about October 17, 2014, defendant

12     CARTER sent a text message to defendant JOHNSON stating ~~Transfer

13     a 1000" to the email address Higher One had on file for straw student

14     T.T.

15            Overt Act No. 11:    On or about October 21, 2014, defendant

16     NELSON, and other co-conspirators known and unknown to the Grand

17     Jury, caused a payment to be made to her Southern California Edison

18     account for $370 using straw student D.B.'s Higher One card.

19            Overt Act No. 12:    On or about October 22, 2014, defendant

20     CARTER sent a text message to defendant NELSON stating "U have [straw

21     student D.P.] and [straw student T.T.] card."

22            Overt Act No. 13:    On or about October 22, 2014, defendant

23     NELSON sent a text message to defendant CARTER stating ~~Omg what's

24     [straw student D.P.] info so I can transfer & what's there pins?"

25            Overt Act No. 14:    On or about October 22, 2014, defendant

26     CARTER sent a text message to defendant NELSON containing the same

27     email address Higher One had on file for straw student D.P.

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 1        Overt Act No. 15:      On or about October 23, 2014, defendant

 2   NELSON, and other co-conspirators known and unknown to the Grand

 3   Jury, logged on to the Higher One website using personal identifying

 4   information belonging to straw student T.J., and activated a Higher

 5   One debit card in T.J.'s name.

 6        Overt Act No. 16:      On or about November 8, 2014, defendant

 7   NELSON sent a text message to defendant CARTER stating, ~~Did it let u

 8   do the promissory note."

 9        Overt Act No. 17:      On or about November 13, 2014, defendant

10   NELSON sent a text message to defendant CARTER stating, ~~How u for $$

11   on his & I got the card? Can u transfer the rest from [straw student

12   R.S.] to [straw student T.T.]."

13        Overt Act No. 18:      On or about November 17, 2014, defendant

14   CARTER sent a text message to defendant NELSON, containing straw

15   student E.P.'s personal identifying information, specifically,

16   including E.P.'s social security number and date of birth.

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 1                             COUNTS TWO THROUGH FIVE

 2                            [18 U.S.C. ~~ 1341, 2(b)]

 3                                 [ALL DEFENDANTS]

 4        18.   The Grand Jury re-alleges and incorporates paragraphs 1

 5   through 14 of this Indictment here.

 6   A.   THE SCHEME TO DEFRAUD

 7        19.   Beginning on or about a date unknown, but no later than

 8   February 2013, and continuing to in or about December 2014, in San

 9   Bernardino County, within the Central District of California, and

10   elsewhere, defendants SPARKLE SHORALE NELSON (~~NELSON"), SITYKEENA

11   MONIQUE JOHNSON, also known as (~~aka") ~~Shy" (~~JOHNSON"), and JERRIKA

12   ELDRENA LASHAY JOHNSON, aka ~~Muffin," aka ~~Big Sis," aka ~~Jerrika

13   Carter" (~~CARTER"), and others known and unknown to the Grand Jury,

14   knowingly and with intent to defraud, devised, participated in, and

15   executed a scheme to defraud the United States Department of

16   Education as to material matters, and to obtain money and property by

17   means of material false and fraudulent pretenses, representations,

18   and promises, and the concealment of material facts.

19        20.   The scheme to defraud operated, in substance, as described

20   in paragraph 16, which is re-alleged and incorporated here.

21   B.   USE OF THE MAILS

22        21.   On or about the dates set forth below, in San Bernardino

23   County, within the Central District of California, defendants NELSON,

24   JOHNSON, and CARTER, and others known and unknown to the Grand Jury,

25   for the purpose of executing the above-described scheme to defraud,

26   placed and willfully caused to be placed in a post office and

27   authorized depository for mail matter, to be sent and delivered by

28   the United States Postal Service, and knowingly caused to be

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 1      delivered by mail according to the directions thereon, the following

 2      Higher One debit cards in the names of straw students, at the

 3      following addresses:

 4      COUNT DATE           ADDRESS                                MAII~ MATTER

 5      TWO     August 13,   401 W Fredricks Street Apt 2,          Higher One debit

 6              2014         Barstow, CA 92311                      card for D.P.

 7      THREE   August 23,   14135 Dry Creek Street,                Higher One debit

 8              2014         Hesperia, CA 92345                     card for C.M.

 9 '~   FOUR    August 26,   501 E Virginia Way, Apt 40,            Higher One debit

10              2014         Barstow, CA 92311                      card for D.B.

11      FIVE    August 28,   10160 Redwood Boulevard,               Higher One debit

12              2014         California City, California            card for T.J.

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 1                            COUNTS SIX THROUGH SIXTEEN

 2                                [18 U.S.C. ~ 1343]

 3                                 [ALL DEFENDANTS]

 4        22.   The Grand Jury re-alleges and incorporates paragraphs 1

 5   through 14 of this Indictment here.

 6   A.   THE SCHEME TO DEFRAUD

 7        23.   Beginning on or about a date unknown, but no later than

 8   February 2013, and continuing to in or about December 2014, in San

 9   Bernardino County, within the Central District of California, and

10   elsewhere, defendants SPARKLE SHORALE NELSON (~~NELSON"), SITYKEENA

11   MONIQUE JOHNSON, also known as (~~aka") ~~Shy" (~~JOHNSON"), and JERRIKA

12   ELDRENA LASHAY JOHNSON, aka ~~Muffin," aka ~~Big Sis," aka ~~Jerrika

13   Carter" (~~CARTER"), and others known and unknown to the Grand Jury,

14   knowingly and with intent to defraud, devised, participated in, and

15   executed a scheme to defraud the United States Department of

16   Education ("the Department") as to material matters, and to obtain

17   money and property by means of material false and fraudulent

18   pretenses, representations, and promises, and the concealment of

19   material facts.

20        24.   The scheme to defraud operated, in substance, as described

21   in paragraph 16, which is re-alleged and incorporated here.

22   B.   USE OF THE WIRES

23        25.   On or about the dates set forth below, in San Bernardino

24   County, within the Central District of California, defendants NELSON,

25   JOHNSON, and CARTER, and others known and unknown to the Grand Jury,

26   for the purpose of executing the above-described scheme to defraud,

27   transmitted and caused the transmission of the following items by

28   means of wire communication in interstate commerce:

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 1   COUNT      DATE          WIRE TRANSMISSION

 2   SIX        August 9,      FAFSA submission for D.P. from IP address in

 3              2014           Victorville, California to Department Server

 4                            in Plano, Texas

 5   SEVEN      August 19,     FAFSA submission for C.M. from IP address in

 6              2014           Hesperia, California to Department Server in

 7                            Plano, Texas

 8   EIGHT      August 22,     FAFSA submission for D.B. from IP address in

 9              2014          Apple Valley, California to Department Server

10                            in Plano, Texas

11   NINE       August 23,     FAFSA submission for T.J. from IP address in

12              2014          Hesperia, California to Department Server in

13                            Plano, Texas

14   TEN        August 28,    Wire of Pell Grant funds for D.P. in the

15              2014          amount of $1,433 from the Federal Reserve Bank

16                            in Minneapolis, Minnesota to Bank of America

17                            in Fullerton, California

18   ELEVEN     August 28,    Wire of Pell Grant funds for C.M. in the

19              2014          amount of $1,433 from the Federal Reserve Bank

20                            in Minneapolis, Minnesota to Bank of America

21                            in Fullerton, California

22   TWELVE     September     Wire of Pell Grant funds for D.B. in the

23              15, 2014      amount of $717 from the Federal Reserve Bank

24                            in Minneapolis, Minnesota to Bank of America

25                            in Fullerton, California

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 1     COUNT      DATE          WIRE TRANSMISSION

 2     THIRTEEN   September     Wire of Pell Grant funds for T.J. in the

 3                15, 2014      amount of $279 from the Federal Reserve Bank

 4                              in Minneapolis, Minnesota to Fullerton

 5                              College's Bank of America account in

 6                              Fullerton, California

 7     FOURTEEN   October       Wire of Pell Grant funds for D.B. in the

 8                14, 2014      amount of $716 from the Federal Reserve Bank

 9                              in Minneapolis, Minnesota to Bank of America

10                              in Fullerton, California

11     FIFTEEN    November      Wire of Pell Grant funds for C.M. in the

12                25, 2014      amount of $1,154 from the Federal Reserve Bank

13                              in Minneapolis, Minnesota to Bank of America

14 I                            in Fullerton, California

15     SIXTEEN    November      Wire of Pell Grant funds for T.J. in the

16                25, 2014      amount of $278 from the Federal Reserve Bank

17                              in Minneapolis, Minnesota to Fullerton

18                              College's Bank of America account in

19                              Fullerton, California

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 1                                  COUNT SEVENTEEN

 2                 [18 U.S.C. ~ 1028A(a)(1); 18 U.S.C. ~ 2(a)]

 3                         [DEFENDANTS NELSON AND JOHNSON]

 4        26.   On or about October 16, 2014, in San Bernardino County,

 5   within the Central District of California, and elsewhere, defendants

 6   SPARKLE SHORALE NELSON (~~NELSON") and SITYKEENA MONIQUE JOHNSON, also

 7   known as `Shy" ("JOHNSON"), each aiding and abetting each other,

 8   knowingly transferred, possessed, and used, without lawful authority,

 9   means of identification that defendants NELSON and JOHNSON knew

10   belonged to another person, namely, the name, social security number,

11   and date of birth of straw student T.J., during and in relation to

12   wire fraud, a felony violation of Title 18, United States Code,

13   Section 1343, as charged in Count Sixteen of this Indictment.

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 1                                   COUNT EIGHTEEN

 2                 [18 U.S.C. ~ 1028A(a)(1); 18 U.S.C. ~ 2(a)]

 3                         [DEFENDANTS NELSON AND CARTER]

 4        27.   On or about November 17, 2014, in San Bernardino County,

 5   within the Central District of California, and elsewhere, defendants

 6   SPARKLE SHORALE NELSON (~~NELSON") and JERRIKA ELDRENA LASHAY JOHNSON,

 7   also known as ("aka") "Muffin," aka `Big Sis," aka "Jerrika Carter"

 8   ("CARTER"), each aiding and abetting each other, knowingly

 9   transferred, possessed, and used, without lawful authority, means of

10   identification that defendants NELSON and CARTER knew belonged to

11   another person, namely, the name, social security number, and date of

12   birth of straw student E.P., during and in relation to conspiracy to

13   commit mail and wire fraud, a felony violation of Title 18, United

14   States Code, Section 1349, as charged in Count One of this

15   Indictment.

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 1                                   COUNT NINETEEN

 2                    [20 U.S.C. ~ 1097(a); 18 U.S.C. ~ 2(a)]

 3                         [DEFENDANTS NELSON AND CARTER]

 4        28.   Between on or about August 9, 2014, and on or about August

 5   28, 2014, in San Bernardino County, within the Central District of

 6   California, defendants SPARKLE SHORALE NELSON (~~NELSON") and JERRIKA

 7   ELDRENA LASHAY JOHNSON, also known as (~~aka") ~~Muffin," aka ~~Big

 8   Sis," aka ~~Jerrika Carter" ("CARTER"), each aiding and abetting each

 9   other, knowingly and willfully misapplied, obtained by fraud, false

10   statement, and forgery, and failed to refund $1,433 in funds, assets,

11   and property provided and insured under subchapter IV of Chapter 28

12   of Title 20 of the United States Code, in that defendants NELSON and

13   CARTER caused the submission of a FAFSA by someone who falsely

14   certified that he/she was straw student D.P. and that D.P. would use

15   the FSA funds for a permitted educational purpose.

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 1                                    COUNT TWENTY

 2                    [20 U.S.C. ~ 1097(a); 18 U.S.C. ~ 2(a)]

 3                         [DEFENDANTS NELSON AND CARTER]

 4        29.   Between on or about August 22, 2014, and on or about

 5   October 14, 2014, in San Bernardino County, within the Central

 6   District of California, defendants SPARKLE SHORALE NELSON (~~NELSON")

 7   and JERRIKA ELDRENA LASHAY JOHNSON, also known as (~~aka") ~~Muffin,"

 8   a ka `Big Sis," aka "Jerrika Carter" ("CARTER"), each aiding and

 9   abetting each other, knowingly and willfully misapplied, obtained by

10   fraud, false statement, and forgery, and failed to refund $1,433 in

11   funds, assets, and property provided and insured under subchapter IV

12   of Chapter 28 of Title 20 of the United States Code, in that

13   defendants NELSON and CARTER caused the submission of a FAFSA by

14   someone who falsely certified that he/she was straw student D.B. and

15   that D.B. would use the FSA funds for a permitted educational

16   purpose.

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 1                                 COUNT TWENTY-ONE

 2                    [20 U.S.C. ~ 1097(a); 18 U.S.C. ~ 2(a)]

 3                         [DEFENDANTS NELSON AND JOHNSON]

 4         31.   Between on or about August 23, 2014, and on or about

 5   November 25, 2014, in San Bernardino County, within the Central

 6   District of California, defendants SPARKLE SHORALE NELSON (~~NELSON")

 7   and SITYKEENA MONIQUE JOHNSON, also known as ~~Shy" (~~JOHNSON"), each

 8   aiding and abetting each other, knowingly and willfully misapplied,

 9   obtained by fraud, false statement, and forgery, and failed to refund

10   $557 in funds, assets, and property provided and insured under

11   subchapter IV of Chapter 28 of Title 20 of the United States Code, in

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 1   that defendants NELSON and JOHNSON caused the submission of a FAFSA

 2   b y someone who falsely certified that he/she was straw student T.J.

 3   and that T.J. would use the FSA funds for a permitted educational

 4   purpose.

 5                                            A TRUE BILL

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 7                                                           S
                                                Foreperson
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 9   NICOLA T. HANNA
     United States Attorney
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12   BRANDON D. FOX
     Assistant United States Attorney
13   Chief, Criminal Division

14   JOSEPH B. WIDMAN
     Assistant United States Attorney
15   Chief, Riverside Branch Office

16   SEAN D. PETERSON
     Assistant United States Attorney
17   Riverside Branch Office

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